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 United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number ~rfa~oW~~                                                      Chapter      11
                                                                                                                       ❑ Check if this an
                                                                                                                         amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Purdue Pharma InC.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number(EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  One Stamford Forum
                                  201 Tresser Boulevard
                                  Stamford, CT 06901
                                  Number, Street, City, State &ZIP Code                         P.O. Box, Number, Street, City, State &ZIP Code

                                  Fairfield                                                     Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State &ZIP


5.   Debtor's website(URL)        www.purduepharma.com


6.   Type of debtor               ■Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  ❑ Partnership (excluding LLP)
                                  ❑ Other. Specify:




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DebtOf     P~~rrl~m Pharma Inr                                                                         Case number (if known)
           Name


7.   Describe debtor's business A. Check one:
                                       ❑ Health Care Business(as defined in 11 U.S.C. § 101(27A))
                                       ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51 B))
                                       ❑ Railroad (as defined in 11 U.S.C. § 101(44))
                                       ❑ Stockbroker(as defined in 11 U.S.C. § 101(53A))
                                       ❑ Commodity Broker(as defined in 11 U.S.C. § 101(6))
                                       ❑ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       ■ None of the above

                                       B. Check all that apply
                                       ❑ Tax-exempt entity(as described in 26 U.S.C. §501)
                                       ❑ Investment company, including hedge fund or pooled investment vehicle(as defined in 15 U.S.C. §80a-3)
                                       ❑ Investment advisor(as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System)4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-Waits-codes.
                                               49CA




8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            ~ Cha ter 7
     debtor filing?                           p
                                       ❑ Chapter 9

                                       ■ Chapter 11. Check all that apply:
                                                            ❑    Debtor's aggregate noncontingent liquidated debts(excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625(amount subject to adjustment on 4!01/22 and every 3 years after that).
                                                            ❑    The debtor is a small business debtor as defined in 11 U.S.C.§ 101(51 D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(6).
                                                            ❑    A plan is being filed with this petition.
                                                            ❑    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C.§ 1126(b).
                                                            ❑     The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            ❑    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       ❑ Chapter 12



9.   Were prior bankruptcy             ■ No.
     cases filed by or against
     the debtor within the last 8      ❑Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                              Case number
                                                District                                  When                              Case number

10. Are any bankruptcy cases           ❑ No
    pending or being £led by a
    business partner or an             ■Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor     See Attached Schedule 1                                        Relationship            Affiliate

                                                           Southern District of
                                                District   New York                       When                            Case number, if known




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 Debtor   Pnrrli~a Pharma Inr_                                                                    Case number (if known)
          Name


11. Why is the case £led in      Check all that apply:
    this district?
                                 ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                 ❑      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

72. Does the debtor own or       ■ No
    have possession of any
    real property or personal               Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                 ❑Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention?(Check all that apply.)
                                            ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            ❑ It needs to be physically secured or protected from the weather.
                                            ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            ❑ Other
                                           Where is the property?
                                                                             Number, Street, City, State &ZIP Code
                                           Is the property insured?
                                            ❑ No
                                            ❑ Yes.    Insurance agency
                                                      Contact name
                                                      Phone



_ Statistical and administrative information

13. Debtor's estimation of               Check one:
    available funds
                                         ■ Funds will be available for distribution to unsecured creditors.
                                         ❑ After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          ❑ 1.49                                          ❑ 1,000-5,000                              ❑ 25,001-50,000
    creditors                    ~ 50 99                                         ❑ 5001-10,000                              ❑ 50,001-100,000
                                 ❑ 100-199                                       ❑ 10,001-25,000                            ❑More than100,000
                                 ❑ 200-999

15. Estimated Assets             ■ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                 ❑ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                 ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                 ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion


16. Estimated liabilities        ❑ $0 - $50,000                                  ❑ $1,000,001 - $10 million                 ❑ $500,000,001 - $1 billion
                                 ■ $50,001 - $100,000                            ❑ $10,000,001 - $50 million                ❑ $1,000,000,001 - $10 billion
                                 ❑ $100,001 - $500,000                           ❑ $50,000,001 - $100 million               ❑ $10,000,000,001 - $50 billion
                                 ❑ $500,001 - $1 million                         ❑ $100,000,001 - $500 million              ❑More than $50 billion




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Debtor    Purdue Pharma Inc.                                                                      Case number (if known)




_ Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                   have been authorized to file this petition on behalf of the debtor.

                                   have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                   declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on     September 15, 2019
                                                 MM / DD / YWY    ~


                             X            ~ G' -         ~                                               Jon Lowne
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Authorized Person




                                                                                                          Date September 15, 2019
18. Signature of attorney    X
                                 Signature of attorney for debtor                                              M M/DD/YYYY

                                 Marshall S. Huebner
                                 Printed name

                                 Davis Polk &Wardwell LLP
                                 Firm name

                                 450 Lexington Avenue
                                 New York, NY 10017
                                 Number, Street, City, State


                                 Contact phone      212-450-4000                 Email address      Purdue.noticing@dpw.com


                                 2601094 NY
                                 Bar number and State




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                                   SCHEDULE 1 TO PETITION

                Pending Bankruptcy Cases in the Southern District of New York
                        Filed by the Debtor and Affiliates of the Debtor



         On the date hereof, each of the affiliated entities listed below (including the debtor in this
 chapter 11 case) filed a voluntary petition for relief under chapter 11 of title 11 of the United
 States Code in the United States Bankruptcy Court for the Southern District of New York (the
 "Court"). A motion has been filed with the Court requesting that the chapter 11 cases of these
 entities be consolidated for procedural purposes only and jointly administered under the case
 number assigned to the chapter 11 case of Purdue Pharma L.P.

            1. Purdue Pharma L.P.
            2. Purdue Pharma Inc.
            3. Purdue Transdermal Technologies L.P.
            4. Purdue Pharma Manufacturing L.P.
            5. Purdue Pharmaceuticals L.P.
            6. Imbrium Therapeutics L.P.
            7. Adlon Therapeutics L.P.
            8. Greenfield BioVentures L.P.
            9. Seven Seas Hill Corp.
            10.Ophir Green Corp.
            1 1. Purdue Pharma of Puerto Rico
            1 2. Avrio Health L.P.
            13. Purdue Pharmaceutical Products L.P.
            l4. Purdue Neuroscience Company
            1 5. Nayatt Cove Lifescience Inc.
            16. Button Land L.P.
            l 7. Paul Land Inc.
            1 8. Quidnick Land L.P.
            19. Rhodes Associates L.P.
            20. Rhodes Pharmaceuticals L.P.
            2l.Rhodes Technologies
            22. UDF LP
            23. SVC Pharma LP
            24. SVC Pharma Inc.
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                                PURDiTE PHARMA INC.

                             SECRETARY'S CERTIFICATE

                                    September 15,2019



           I,Marc L. Kesselman,the Secretary ofPurdue Pharma Inc., a New York
   corporation ("PPI"), hereby certify, in my capacity as the Secretary ofPPI and not
   individually, that the resolutions attached as Annex A were duly approved by the Board
   of Directors ofPPI on September 15, 2019, have not been amended, modified, revoked or
   rescinded as ofthe date hereof, and are in full force and effect.



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            IN WITNESS WHEREOF,the undersigned, solely in his capacity as the
    Secretary of PPI, and not individually, has executed this Certificate as of the date first
    written above.

                                                  PURDUE PHARMA INC.


                                                  By:
                                                         Name: Marc . Kesse an
                                                         Title: Senior Vice President, General
                                                         Counsel &Secretary




                           [Signature Page to Sec~etaNy's Cert~cate]
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                                   Annex A

                                  Resolutions

                                [See attached.]




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                                            Purdue Pharma Inc.
                                    Resolutions of the Board of Directors


                                                September 15,2019


               Commencement of Chapter 11 Case

        WHEREAS,(i) the Corporation is the general partner of Purdue Pharma L.P., a Delaware
limited partnership ("PPLP"), and the general partner or managing general partner of each entity
identified on Schedule 1 A hereto, and (ii) PPLP is a limited partner or partner of each entity
identified on Schedule lA hereto (other than Rhodes Pharmaceuticals L.P. ("Rhodes Pharma
LP"), Rhodes Technologies("Rhodes")and UDF L.P.("UDF"));1

        WHEREAS,(i) Rhodes Associates L.P.("Rhodes LP") is(A)the general partner of each
entity identified on Schedule 1B hereto and (B) a limited partner of Rhodes Pharma LP and a
partner of Rhodes, and (ii) Rhodes is a limited partner of UDF;

        WHEREAS, each of PPLP, each entity identified on Schedule lA and each entity
identified on Schedule 1 B is hereafter referred to as a "Partnership" and collectively, the
"Partnerships";

         WHEREAS the Board reviewed and considered the materials presented by the
management team and the financial and legal advisors of each Partnership regarding the
liabilities and liquidity of each Partnership, the strategic alternatives available to each of them
and the impact of the foregoing on the Partnerships' respective businesses; and

        WHEREAS the Board consulted with each Partnership's management team and its
financial and legal advisors, and has fully considered each of the Partnerships' strategic
alternatives.

        NOW, THEREFORE, BE IT RESOLVED that in the judgment of the Board, it is
desirable and in the best interests of(i) the Corporation,(ii) PPLP (in the Corporation's capacity
as general partner ofPPLP)and (iii) each of the other Partnerships (in the Corporation's capacity
as general partner of certain of such Partnerships, or in its capacity as general partner of an entity
that is directly or indirectly the general partner, limited partner or partner of certain of such
Partnerships), and (iii) the respective creditors and other stakeholders of each of the foregoing,
that a petition be filed by the Corporation and each of the Partnerships seeking relief under the
provisions of chapter 11 of title 11 of the United States Code (the "Bankruptcy Code"); and


            Additional conformed resolutions needed for the Boards of(A)Nayatt Cove Lifescience [nc.,(B)Paul
Land Inc.,(C)SVC Pharma Inc.(covering the Ch. I 1 filing of itself, and of SVC Pharma LP in its capacity as the
general partner of SVC Pharma LP),(D)Seven Seas Hill Corp. and (E)Ophir Green Corp.(the latter two are BVI
entities, and these resolutions should cover the Ch. 11 filing for each BVI entity and also each authorize the Ch. 11
filing for Purdue Pharma of Puerto Rico, a DE general partnership, of which each BVI entity is a 50% partner).




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         RESOLVED FURTHER, that each of the Chief Executive Officer, Chief Financial
 Officer or any other officer or duly authorized signatory of the Corporation (each, an
"Authorized Person") be, and each of them hereby is, authorized on behalf of(i) the Corporation,
(ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each of the other
Partnerships (in the Corporation's capacity as general partner of certain of such Partnerships, or
 in its capacity as general partner of an entity that is directly or indirectly the general partner,
 limited partner or partner of certain of such Partnerships), to execute and verify petitions under
chapter 11 of the Bankruptcy Code and to cause such petitions to be filed in the United States
Bankruptcy Court for the Southern District of New York (the "Court"), each such petition to be
filed at such time as the Authorized Person executing the petition shall determine and to be in the
form approved by the Authorized Person executing such petition, such approval to be
conclusively evidenced by the execution, verification and filing thereof.

          Retention of Advisors

         RESOLVED,that the Authorized Persons be, and hereby are, authorized, empowered and
 directed to employ, subject to Bankruptcy Court approval: (i) the law firm of Davis Polk &
 Wardwell LLP as general bankruptcy counsel, (ii) PJT Partners LP as investment banker, (iii)
 AlixPartners LLP as restructuring financial advisor,(iv) Prime Clerk LLC as notice, claims and
 solicitation agent, and (v) any other legal counsel, accountants, financial advisors, restructuring
 advisors or other professionals any of the Authorized Persons deems necessary, appropriate or
 advisable; each to represent and assist the Corporation and each Partnership in carrying out their
 respective duties and responsibilities and exercising their respective rights under the Bankruptcy
 Code (including, but not limited to, the law firms filing any pleadings or responses); and in
 connection therewith, each of the Authorized Persons be, and hereby is authorized, empowered
 and directed, in accordance with the terms and conditions hereof, to execute appropriate
 retention agreements, pay appropriate retainers, and to cause to be filed appropriate applications
 for authority to retain such services; and

         RESOLVED FURTHER, that each of the Authorized Persons, be, and hereby is,
 authorized, empowered and directed to execute and file all petitions, schedules, motions, lists,
 applications, pleadings, and other papers, and to perform such further actions and execute such
 further documentation that such Authorized Person deems necessary, appropriate or desirable in
 accordance with theseresolutions.

          General Authorization and Ratification

         RESOLVED that the Authorized Persons be, and each of them hereby is, authorized,
 directed and empowered, in the name and on behalf of (i) the Corporation, (ii) PPLP (in the
 Corporation's capacity as general partner of PPLP)and (iii) each of the other Partnerships (in the
 Corporation's capacity as general partner of certain of such Partnerships, or in its capacity as
 general partner of an entity that is directly or indirectly the general partner, limited partner or
 partner of certain of such Partnerships), to take, or cause to be taken, any and all further actions
(including, without limitation,(i) execute, deliver, certify, file and/or record and perform any and
 all documents, agreements, instruments, motions, affidavits, applications for approvals or rulings
 of governmental or regulatory authorities or certificates and (ii) pay fees and expenses in
 connection with the transactions contemplated by the foregoing resolutions) and to take any and



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 all steps deemed by any such Authorized Person to be necessary, advisable or desirable to carry
 out the purpose and intent of each of the foregoing resolutions, and all actions heretofore taken
 by any such Authorized Person or the Board in furtherance thereof are hereby ratified, confirmed
 and approved in all respects; and

         RESOLVED FURTHER, that all acts, actions, and transactions relating to the matters
 contemplated by the foregoing resolutions done in the name of and on behalf of (i) the
 Corporation, (ii) PPLP (in the Corporation's capacity as general partner of PPLP) and (iii) each
 of the other Partnerships (in the Corporation's capacity as general partner of certain of such
 Partnerships, or in its capacity as general partner of an entity that is directly or indirectly the
 general partner, limited partner or partner of certain of such Partnerships), which acts would have
 been approved by the foregoing resolutions except that such acts were taken before the adoption
 of these resolutions, are hereby in all respects approved and ratified as the true acts and deeds of
 the Corporation and the Partnerships, as applicable, with the same force and effect as if each
 such act, transaction, agreement, or certificate has been specifically authorized in advance by
 resolution of the Board; and

        RESOLVED FURTHER, that the omission from these resolutions of any agreement,
document or other arrangement contemplated by any of the agreements, documents or
instruments described in the foregoing resolutions or any action to be taken in accordance with
any requirement of any of the agreements or instruments described in the foregoing resolutions
shall in no manner derogate from the authority of the Authorized Persons to take all actions
necessary, desirable, advisable or appropriate to consummate, effectuate, carry out or further the
transactions contemplated by, and the intent and purposes of, the foregoing resolutions.




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                                             Schedule lA

                        ENTITY                           JURISDICTION OF FORMATION

       Purdue Transdermal Technologies L.P.                          Delaware

         Purdue Pharma Manufacturing L.P.                            Delaware

               Purdue Pharmaceuticals L.P.                           Delaware

                Imbrium Therapeutics L.P.                            Delaware

                 Adlon Therapeutics L.P.                             Delaware

               Greenfield BioVentures L.P.                           Delaware

                    Avrio Health L.P.                                Delaware

       Purdue Pharmaceutical Products L.P.                           Delaware

              Purdue Neuroscience Company                           Delaware

                 Rhodes Associates L.P.                             Delaware

              Rhodes Pharmaceuticals L.P.                           Delaware

                  Rhodes Technologies                               Delaware

                       UDF L.P.                                     Delaware



                                             Schedule 1B

                       ENTITY                           JURISDICTION OF FORMATION

                   Button Land L.P.                                 Delaware

                  Quidnick Land L.P.                                Delaware




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  DAVIS POLK & WARDWELL LLP
  450 Lexington Avenue
  New York, New York 10017
  Telephone:(212)450-4000
  Facsimile:(212) 701-5800
  Marshall S. Huebner
  Benjamin S. Kaminetzky
  Timothy Graulich
  Eli J. Vonnegut

  Proposed Counsel to the Debtors
  and Debtors in Possession

  UNITED STATES BANKRUPTCY COURT
  SOUTHERN DISTRICT OF NEW YORK

  In re:                                                         Chapter 11

  PURDUE PHARMA L.P., et al.,                               ~    Case No. 19-[        ~ (RDD)

                   Debtors. ~                               I    (Joint Administration Pending)


           CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
           TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

           Pursuant to Rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of Bankruptcy

  Procedures (the "Bankruptcy Rules") and Rule 1007-3 of the Local Bankruptcy Rules for the

  Southern District of New York (the "Local Rules"), Purdue Pharma L.P. ("PPLP") and its

  affiliates that are debtors and debtors in possession (collectively, the "Debtors") respectfully

  represent:



           t The Debtors in these cases, along with the last four digits of each Debtor's registration number in the
  applicable jurisdiction, are as follows: Purdue Pharma L.P.(7484), Purdue Pharma Inc.(7486), Purdue Transdermal
  Technologies L.P. (1868), Purdue Pharma Manufacturing L.P. (3821), Purdue Pharmaceuticals L.P. (0034),
  Imbrium Therapeutics L.P. (8810), Adlon Therapeutics L.P. (6745), Greenfield BioVentures L.P. (6150), Seven
  Seas Hill Corp.(4591), Ophir Green Corp.(4594), Purdue Pharma of Puerto Rico (3925), Avrio Health L.P.(4140),
  Purdue Pharmaceutical Products L.P.(3902), Purdue Neuroscience Company (4712), Nayatt Cove Lifescience Inc.
 (7805), Button Land L.P.(7502), Rhodes Associates L.P.(N/A), Paul Land Inc.(7425), Quidnick Land L.P.(7584),
  Rhodes Pharmaceuticals L.P. (6166), Rhodes Technologies (7143), UDF LP (0495), SVC Pharma LP (5717) and
  SVC Pharma Inc. (4014). The Debtors' corporate headquarters is located at One Stamford Forum, 20l Tresser
  Boulevard, Stamford, CT 06901.
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         1.     Non-Debtor Pharmaceutical Research Associates L.P. directly owns 100% of the

  ownership interests of PPLP.      Non-Debtor PLP Associates Holdings L.P. directly owns

  approximately 99.5061% of the ownership interests of Pharmaceutical Research Associates L.P.

  Non-Debtor BR Holdings Associates L.P. directly owns 100% of the ownership interests of PLP

  Associates Holdings L.P. Non-Debtor Beacon Company and non-Debtor Rosebay Medical

  Company L.P. each directly own 50% of the ownership interests of BR Holdings Associates L.P.

  Non-Debtor Heatheridge Trust Company Limited, as Trustee under Settlement dated 31

  December 1993 directly owns 100% of the ownership interests of Beacon Company. Richard S.

  Sackler, M.D.("RSS") and Jonathan D. Sackler ("JDS"), as Trustees under Trust Agreement

  dated November 5, 1974 directly own 98% of the ownership interests of Rosebay Medical

  Company L.P. To the best of the Debtors' knowledge and belief, no other person or entity

  directly or indirectly owns 10% or more of the ownership interests ofPPLP.

         2.     Non-debtor Banela Corporation directly owns 50% of,the ownership interests of

  Debtor Purdue Pharma Inc. ("PPI"); non-debtor Linarite Holdings LLC directly owns 25% of

  the ownership interests of PPI; and non-debtor Perthlite Holdings LLC directly owns 25% of the

  ownership interests of PPI. Non-debtor Millborne Trust Company Limited, as Trustee of the

  Hercules Trust under Declaration of Trust dated 2 March 1999 directly owns 100% of the

  ownership interests of Banela Corporation. Non-debtor Data. LLC, as Trustee under Trust

  Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Linarite

  Holdings LLC. Non-debtor Cornice Fiduciary Management LLC, as Trustee under Trust

  Agreement dated December 23, 1989 directly owns 100% of the ownership interests of Perthlite

  Holdings LLC. To the best of the Debtors' knowledge and belief, no other person or entity

  directly or indirectly owns 10% or more of the ownership interests ofPPI.




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         3.     PPLP directly owns 100% of the ownership interests of the following Debtors:

  Purdue Transdermal Technologies L.P., Purdue Pharmaceuticals L.P., Purdue Pharma

  Manufacturing L.P., Adlon Therapeutics L.P., Imbrium Therapeutics L.P., Greenfield

  BioVentures L.P., Nayatt Cove Lifescience Inc., Purdue Pharmaceutical Products L.P., Rhodes

  Associates L.P., Avrio Health L.P., Seven Seas Hill Corp., and Ophir Green Corp. PPLP directly

  owns 99% of the ownership interests of Debtor Purdue Neuroscience Company. Purdue Pharma

  Inc. directly owns the remaining 1% of the ownership interests of Purdue Neuroscience

  Company.

         4.     Rhodes Associates L.P. directly owns 100% of the ownership interests of the

  following Debtors: Rhodes Technologies, Rhodes Pharmaceuticals L.P. and Paul Land Inc.

         5.     Rhodes Technologies directly owns 100% of the ownership interests of UDF L.P.

  and SVC Pharma Inc.

         6.      UDF LP directly owns 100% of the ownership interests of Button Land L.P. and

  Quidnick Land L.P. UDF LP directly owns 99% of the ownership interests of SVC Pharma LP

  SVC Pharma Inc. directly owns 1% ofthe ownership interests ofSVC Pharma LP.

         7.     Seven Seas Hill Corp. and Ophir Green Corp. each directly own 50% of the

  ownership interests of Purdue Pharma ofPuerto Rico.

         8.     Attached hereto as Exhibit A is an organizational chart reflecting the Debtors'

  ownership structure.




                                                3
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                                        Exhibit A
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PURDUE PHARMA L.P. -SUBSIDIARIES




                                                                                                                                           Purdue Pharma L.P.,
                                  Purdue Pharma Inc.,
                                a New York corporation                                                                                a Delaware limited partnership
                                            0%*                                                               100%                                                                                                                                                     Purdue Pharma Inc.,
                                                                                                                                                                                                                                                                     a New York corporation
                                                                                                                                                              00%                                                                                                       0%•
                             Rhodes Associates L.P.,
                          a Delaware limited partnership
                                                                                                                                                                    Purduc Transdcnnal Tcchnologics L.P..          Purduc Phannaccwicals L.P..          Purduc Pl~anna Maimfacmrin~ L.P..
                                                                                                         Purdue Pharma Inc.,                                            a Dcla~carc limited paruicrship           a Dclaaarc limited panncrship           a Delaware limiicd panncrship
                            Purdue Pharma Inc.,                                                        a New York corporation
                          a New York corporation
               100%                                           100%               100%                                  ~~"
                                    U%"                                                                                                                      Adlon Thcrapcwics L.P..               Imbrium Thcrapcmics L.P.,          Greenfield BioVamures L.P.,
             Paul Land                                                                                                                                    a Dcla~~arc limi~cd pamx:rship         a Dcla~~arc limllcd panncrship      a Dclawaro limned partnership
               ~~~~                                    Rhodes Technologies,                            Rhodes Pharmaceuticals L.P.,
            n New York                             a Delaware general partnership                      a Delaware limited partnership
            corporation          poi"                                100%                  100%                                                         100
                                                    UDF LP,                                    SVC Phanna Inc.,                                      Nayatl Cove Lifescience Inc.,
                                          a Delawarz limited partnership                    a Delaware corporation                                     a Delaware corporation
      ~~#                                100%0                         99%                                        ~

              Button Land L.P.,                                                                                                                                       Purdue Pharma Inc.,
        a Delaware limited partnership                                         SVC Phanna LP,                                                                       a Naw York corporation
                                                      g00%               a Delaware limited partnership
                                                                                                                                                  99~                     1%
0%'
           Quidnick Land L.P.,
      a Delaware limited partnership                                   ~ oo,~
                                                                                                             Purdue Pharma Inc.,                   Purdue Neuroscience Company, a
                                                                                                           a New York corporation                    Delaware general partnership
                                         Seven Seas Hill Corp.               Ophir Green Corp.
                                        (British Virgin Islands)          (British Virgin Islands)
                                                                                                                      0%'                100                      Purdue Pharma Inc.,
                                                    50%                                     50%                                                                 a New York corporation


                                                                                                                    A~rio Health L.P.,           100%                   pois
                                                           Purdue Pharma of Puerto Rico,
                                                                                                              a Delaware limned partnership
                                                           a Delaware general partnership
                                                                                                             (Formerly Purdue Products L.P.)
                                                                                                                                                Purdue Pharmaceutical Products L.P.,
                                                                                                                                                   a Delaware limited partnership




  General Partner has no equity interest in L.P., rather the General Panner receives a service fee for acting as General Partner.
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  PURDUE PHARMA L.P. -OWNERSHIP

                                                                                                                                                                                                                       Cornice Fiduciary'
                                                                                                                                     Heatheridge Trust Company                                                         Management LLC,
                                                                                       Cornice Fiduciary                              Limited, as Trustee under                       Data LLC, as Trustee
      Millborne Trust Company                                                                                                                                                                                           as Trustee under
                                                                                      Management LLC, as                         Settlement dated 31 December 1993                   under Trust Agreement
      Limited, as Trustee of the               Data LLC, as Trustze                                                                                                                                                    Trust Agrezmeni
                                                                                      Trustee under Trust                                                                             dated December 23,
        Hercules Trust under                  under Trust Agreement                                                                                                                                                   dated December 2~.
                                                                                       Agreement dated                              100%a                         100                  1989(1989 Trust 1)             1989(1989 Trust 21
      Declaration ofTrust dated                dated December 23,                     December 23, 1989
           2 March 1999                         1989(1989 Trust 3)                      (1989 Trust 4)
                                                                                                                                                                                       50%                            50%
                        I UO%                                     100%                                  100%              Stanhope Gate Corp.
                                                                                                                         (British Virgin Islands)
                                              Linarite Holdings LLC,                Perthlite Holdings LLC,
        Banela Corporation                      a Delaware limited                     a Delaware limited                                                                                    Rosebay Medical Company, Inc.,             K~~~~ard S. Sackler, M.D.("RSS")and
      (British Virgin Islands)                   liability company                      liability company                          p/                                                          a Delaware coryoration(GP)                  Jonathan D. Sackler('YDS"), as
                                                                                                                                                                                                                                        Trustees under Trust Agreement dated
                                                                                                                                                                                                                                                  November 5, 1974

                                                                                                                                                                                                              2%
                                                                                                                                                                                                                                                      98%
                                                                                                                                         Beacon Company, a Delaware
                                                             25%                         25%                                                 general partnership
                       50%
                                                                                                                                                                                                                                Roszbay Medical Company L.P.,
                                                                                                                                                                                                                                 a Delaware limned partnership
                                                                                                                                                                                     BR Holdings Associates Inc.,
                                                                                                                                                                                       a New York corporation

                                                                                                             Same ultimate beneficial                    50%                                          0%•                         50%
                                                                                                         ownership as Purdue Pharma Ine


                                                                                                            PLP Associates Holdings Inc                                              BR Holdings Associates L.P.,
                                                                                                              a New York corporation                                                 a Dalaware limittd partnership


                                                                                                                                          0%'                                              1004„




                                                            Purdue Pharma Inc.,                                                                     PLP Associates Holdings L.P.,                       PLP Associates Holdings Inc.,                   BR Holdings Associates Inc.,
                                                          a Nzw York corporation                                                                    a Delaware limited partnership                        a New York corporation                          a New York corporation

                                                                               0.2475%~•                                                    99.506 I%s'                                                                                                D%*
                                                                                                                                                                                                      0.2464%"`•



                                                                                                                             Pharmaceutical Research Associates L.Y.,
                                                                                                                                a Delaware limited partnership***
                                                                            or•

                                                                                                                                                                        poor
                                                                                                               Purdue Pharma L.P., a Delaware limited partnership



 "     General Penner has no equity interest in L.P., rather the General Partner receives a service fee for acting as General Partner.
 "*    BR Holdings Associates Inc. is the general partner of Pharmaceutical Research Associates L.P.; Purdue Pharma Inc., PLP Associates Holdings Inc. and PLP Associates Holdings L.P. are the limited partners of Pharmaceutical Research Associates L.P.
'•" Name change fiom Purdue Holdings L.P. to Pharmaceutical Research Associated L.P. etFective July 24, 2018
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         Debtor name            Purdue Pharma Inc.

         U nited States Bankruptcy Court for the: Southern District of New York

         Case number (if known)                                                                                                         ❑ Check if this is an
                                                                                                                                          amended filing


    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 50 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 50 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C.§ 107(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 50
    largest unsecured claims.

     Certain of the Debtors are named as defendants in over 2,600 actions across the country in connection with the marketing and sale of opioid medications
    ("Pending Actions"). Any claims asserted against any Debtor in respect of the Pending Actions (the "Pending Action Claims") are contingent,
     unliquidated in amount and disputed. All creditors asserting Pending Action Claims will be included in the Debtors' list of creditors. This List of Creditors
     Who Have the 50 Largest Unsecured Claims and Are Not Insiders does not include these contingent, unliquidated and disputed claims.

      Name of creditor and complete            Name, telephone number, and email Nature of the claim        Indicate if     Amount of unsecured claim
      mailing address, including zip code      address of creditor contact       (for example, trade        claim is        If the claim is fully unsecured, fill in only
                                                                                  debts, bank loans,        contingent,     unsecured claim amount. If claim is partially
                                                                                  professional              unliquidated,   secured, fill in total claim amount and
                                                                                  services, and             or disputed     deduction for value of collateral or setoff to
                                                                                  government                                calculate unsecured claim.
                                                                                  contracts)
                                                                                                                            Total claim, if   Deduction for    Unsecured
                                                                                                                            partially         value of         claim
                                                                                                                            secured           collateral or
                                                                                                                                              setoff
                                              ENSIONBENEFITGUARANTYCORPORATION
~     PENSION BENEFITGUARANNCORPORATION
                                              17N: CYNTHIA WONG
      CYNTHIA WONG                                                                                            CONTINGENT
                                              HONE: 202-229-3033                             PENSION                                                          UNDETERMINED
      1200 K STREET NW                                                                                       UNLIQUIDATED
                                              AX:20Z-326-4112
        ASHINGTON,DC 20005
                                             EMAIL: WONG.CYNTHIA@PBGC.GOV

2     CVS CAREMARK PART D SERVICES, L.L.C.    VS CAREMARK PART D SERVICES, L.L.C.
        N DY ZANIN,TRADE DIRECTOR, MED D      TTN: ANDY ZANIN, TRADE DIRECTOR, MED D
                                                                                           pgYER REBATES                                                        519,281,161
      1 CVS DRIVE                             HONE:440-542-4010
        OONSOCKET, RI 02895                   MAIL: ANDREW.ZANIN@CVSHEALTH.COM


3     OPTUMRX,INC.                            PTUMRX, INC.
      KENT ROGERS, SENIOR VP INDUSTRY         TTN: KENT ROGERS,SENIOR VP INDUSTRY
      RELATIONS                              RELATIONS                                    PAYER REBATES                                                         515,800,513
      2300 MAIN ST                            HONE: 949-988-6066
      IRVINE, CA 92614-6223                   MAIL: KENT.ROGERS@OPTUM.COM

      DEFENSE HEALTH AGENCY                   EFENSEHEALTH AGENCY
      COLONEL DAVID BOBB, CHIEF PHARMACY      TTN: COLONEL DAVID BOBB, CHIEF PHARMACY
      OPERATIONS DIVISION, DHA                PERATIONS DIVISION, DHA                     PAYER REBATES                                                         $5,952,016
      16401 E CENTRETECH PKWY                 HONE: 703-681-2890
       U RORA, C080011-9066                   MAIL: DAVID.W.BOBB.CIV@MAIL.MIL


5     DEPARTMENT OF HEALTH CARE SERVICES(CA) DEPARTMENT Of HEALTH CARE SERVICES (CA)
      ROBERT SHUN                             TTN: ROBERT SHUN
                                                                                           PAYER REBATES                                                         $5,162,762
      PO BOX 997413                           HONE: 916-552-9609
       ACRAMENTO, CA 95899-7413               MAIL: ROBERT.SHUN@DHCS.CA.GOV

                                              AREMARKPCS HEALTH, L.L.C.
6     CAREMARKPCS HEALTH, L.L.C.
                                              ~N:SAPPAN BHATT, DIRECTOR TRADE
       APPAN BHATT, DIRECTOR TRADE RELATIONS
                                             RELATIONS                                     PAYER REBATES                                                        $5,039,745
      1 CVS DRIVE
                                             PHONE: 847-559-3062
        OONSOCKET, RI 02895
                                             EMAIL:SAPPAN.BHATT@CVSHEALTH.COM




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Debtor      Purdue Pharma Inc.                                                                            Case number (if known)
             Name

     Name of creditor and complete             Name,telephone number, and email              Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact                  (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                            debts, bank Ioans,     contingent,     unsecured claim amount. If claim is partially
                                                                                             professional          unliquidated,   secured, fill in total claim amount and
                                                                                            services, and          or disputed     deduction for value of collateral or setoff to
                                                                                            government                             calculate unsecured claim.
                                                                                            contracts)
                                                                                                                                   Total        Deduction         Unsecured
                                                                                                                                   claim, if    for value of      claim
                                                                                                                                   partially    collateral or
                                                                                                                                   secured      setoff

~     MERISOURCEBERGEN                        MERISOURCEBERGEN
     DAVE VIETRI, VICE PRESIDENT BRANDED AND  TTN: DAVE VIETRI, VICE PRESIDENT BRANDED
     SPECIALN CONTRACTS                       ND SPECIALTY CONTRACTS                          DISTRIBUTOR FEES                                                         $4,455,373
     3735 GLEN LAKE DR                       PHONE:610-727-7310
     CHARLOTTE, NC 28208                      MAIL: DVIEfRI@AMERISOURCEBERGEN.COM

8    NORTH CAROLINA DEPARTMENT OF HEALTH      ORTH CAROLINA DEPARTMENT OF HEALTH AND
       ND HUMAN SERVICES                     HUMAN SERVICES
      OHN STANCIL                             TTN: JOHN STANCIL                                 PAYER REBATES                                                          53,703,227
     2001 MAILSERVICE CENTER                 PHONE:919-855-4305
     RALEIGH, NC 27699-2000                  EMAIL:IOHN.STANCIL@DHHS.NC.GOV

9    MCKESSON CORPORATION                     MCKESSON CORPORATION
     CHRIS ALVERSON, SENIOR VICE PRESIDENT OF TTN: CHRIS ALVERSON, SENIOR VICE PRESIDENT
     SUPPLY CHAIN MANAGEMENT                   F SUPPLY CHAIN MANAGEMENT                      DISTRIBUTOR FEES                                                         53,655,581
     ON E POST ST                            PHO N E:972-446-4104
     SAN FRANCISCO, CA 94104-5203              MAIL: CHRIS.ALVERSON@MCKESSON.COM


1 O CARDINAL HEALTH                           ARDINAL HEALTH
     EFF CIZL, DIRECTOR STRATEGIC SOURCING    TTN: JEFF CIZL, DIRECTOR STRATEGIC SOURCING
    NATIONAL BRANDS                           ATIONAL BRANDS                                  DISTRIBUTOR FEES                                                         53,465,979
    1330 ENCLAVE PKY                          HONE:614-757-3694
    HOUSTON,TX 77077-2025                     MAIL: JEFF.CIZL@CARDINALHEALTH.COM


~ ~ MISSOURI HEALTHNE~ DIVISION                ISSOURI HEALTHNEf DIVISION
    CAROLINA DELAROCHA                        TTN: CAROLINA DELAROCHA
                                                                                                pgYER REBATES                                                          53,172,515
    PO BOX 570                                HONE: 573-526-5664
     EFFERSON CITY, MO 65102                  MAIL: CAROLINA.D.DELAROCHA@DSS.MO.GOV

                                              SCENT HEALTH SERVICES LLC
      SCENT HEALTH SERVICES LLC
~2                                            TTN: EDWARD ADAMCIK, PRESIDENT ASCENT
     EDWARDADAMCIK, PRESIDENT ASCENT
                                              EALTH SERVICES
     HEALTH SERVICES                                                                            PAYER REBATES                                                          $2,798,697
                                              HONE:908-240-1537
     1209 ORANGE ST
                                              MAIL:
     WILMINGTON, DE 19801
                                              ADAMCIK@ASCENTHEALTHSERVICES.COM

13 WISCONSIN DEPARTMENT OF HEALTH               ISCONSIN DEPARTMENT OF HEALTH SERVICES
   SERVICES
                                               TTN: KIM WOHLER
   KIM WOHLER                                                                                   PAYER REBATES                                                          $2,021,937
                                               HONE:608-267-7100
   313 BLETHER RD
                                             E MAIL: KIM.WOHLER@WISCONSIN.GOV
   MADISON, WI53784

     STATE OF NEW YORK DEPARTMENT OF
14 HEALTH                                     TATE OF NEW YORK DEPARTMENT OF HEALTH
                                              TTN: CHRISTOPHER DESORBO
     CHRISTOPHER DESORBO
                                              HONE: 518-402-0836                                PAYER REBATES                                                          $1,963,959
     RIVERVIEW CENTER
                                              MAIL:
     150 BROADWAY SUITE 355
                                              HRISTOPHER.DESORBO@HEALTH.NY.60V
      LBANY, NY 12204-2719

15 TATE OF NEW JERSEY DIVISION OF MEDICAL     TATE OF NEW JERSEY DIVISION OF MEDICAL
      SSISTANCE AND HEALTH SERVICES           SSISTANCE AND HEALTH SERVICES
     DAVID WILLIAMS                           TTN: DAVID WILLIAMS                               PAYER REBATES                                                          51,614,986
     LOCKBOX 655                             PHONE: 609-588-7395
      RENTON, NJ 08646-0655                   MAIL: DAVID.R.WILLIAMS@DHS.STATE.NJ.US


16 PRIME THERAPEUTICSLLC                      RIME THERAPEUTICSLLC
      OSH BAST, SENIOR DIRECTOR               TTN: JOSH BAST, SENIOR DIRECTOR
     PHARMACEUTICAL TRADE RELATIONS           HARMACEUTICAL TRADE RELATIONS                     PAYER REBATES                                                          $1,533,047
     PO 80X 64812                             HONE: 612-777-5621
     ST PAUL, MN 08646-0655                   MAIL: JABAST@PRIMETHERAPEUTICS.COM

                                              HIO DEPARTMENT OF MEDICAID
~~ OHIO DEPARTMENTOF MEDICAID
                                              TTN:TRACEY ARCHIBALD
    RACEY ARCHIBALD
                                              HONE:614-752-3522                                PAYER REBATES                                                           $1,478,682
    345 N. LINCOLN BLVD.
                                              MAIL:
   OKLAHOMA CITY, OK 73105
                                              RACEY.ARCH IBALD@ MEDICAID.OHIO.GOV



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Debtor      Purdue Pharma Inc.                                                                    Case number (if known)
             Name

     Name of creditor and complete          Name, telephone number, and email        Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code    address of creditor contact             (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                    debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                    professional           unliquidated,   secured, fill in total claim amount and
                                                                                    services, and          or disputed     deduction for value of collateral or setoff to
                                                                                    government                             calculate unsecured claim.
                                                                                    contracts)
                                                                                                                           Total        Deduction         Unsecured
                                                                                                                           claim, if    for value of      claim
                                                                                                                           partially    collateral or
                                                                                                                           secured      setoff

~$ COMMONWEALTH OF PENNSYLVANIA             OMMONWEALTH OF PENNSYLVANIA MEDICAID
   MEDICAID DRUG REBATE PROGRAM             RUG REBATE PROGRAM
   BRITTANY STARR                           TTN: BRITTANY STARR                        PAYER REBATES                                                           $1,442,635
   PO BOX 780634                            HONE: 717-346-8164
   PHILADELPHIA, PA 19178                   MAIL: C-BSTARR@PA.GOV


19 GEORGIA DEPT OFCOMMUNIN HEALTH           EORGIADEPTOFCOMMUNITY HEALTH
     REBECCA MORRISON                       TTN: REBECCA MORRISON
                                                                                       PAYER REBATES                                                           $1,414,770
     M EDICAID DRUG REBATE PROGRAM          HONE:404-657-7239
      TLANTA, GA 30384-8194                 MAIL: REBECCA.MORRISON@DCH.GA.GOV


20    YNE05 HEALTH fka INVENTIV HEALTH      YNEOS HEALTH fka INVENTIV HEALTH
     HAIYAN WANG, DIRECTOR BUSINESS         TfN: HAIYAN WANG, DIRECTOR BUSINESS
     DEVELOPMENT, EARLY PHASE               EVELOPMENT, EARLY PHASE                      TRADE DEBT                                                            $1,073,469
     1030 SYNC ST                           HONE: 514-485-7579
     MORRISVILLE, NC 27560                  AX:919-876-9360


21 RHODES TECHNOLOGIES INC                  HODES TECHNOLOGIES INC
   EDWARD MAHONY                            TTN: EDWARD MAHONY
                                                                                        SERVICES FEES                                                          51,034,752
   201 TRESSER BOULEVARD                    HONE: 203-588-7088
   STAMFORD, CT 06901                       MAIL: EDWARD.MAHONY@TXPSVCS.COM


22 •HIO CLINICALTRIALS INC                  HIO CLINICALTRIALS INC
    LEN APSELOFF                            TTN:GLEN APSELOFF
                                                                                         TRADE DEBT                                                              $600,000
   1380 EDGEHILL RD                        PHONE:614-754-1570
   COLUMBUS, OH 43212                       MAIL: GLEN@OHIOCLINICALTRIALS.COM


23 PPD DEVELOPMENT LP                       PD DEVELOPMENT LP
   STEPHEN SCALDAFERRI                      TTN: STEPHEN SCALDAFERRI
                                                                                         TRADE DEBT                                                              $522,334
   26361 NETWORK PL                         HONE: 910-465-7800
   CHICAGO, IL 60673                        MAIL: STEPHEN.SCALDAFERRI@PPDI.COM


24 OKLAHOMA HEALTH CARE AUTHORITY           KLAHOMA HEALTH CARE AUTHORITY
   STACEY HALE                              TTN:STACEY HALE
                                                                                       PAYER REBATES                                                             5400,586
   PO BOX 18968                             HONE:405-522-7453
   OKLAHOMA CITY, OK 73154-0299             MAIL: STACEY.HALE@OKHCA.ORG


25 PHARMACEUTICAL RESEARCH ASSOC INC       HARMACEUTICAL RESEARCH ASSOC INC
    OSEPH DAWN                             'fTN: JOSEPH DAWN
                                                                                         TRADE DEBT                                                             $373,122
    130 PARKLAKE AVE STE 400               HONE:434-951-3208
   RALEIGH, NC 27612                       MAIL: JOSEPHDAWN@PRAHS.COM


                                             AVELENGTH ENTERPRISES INC
 s WAVELENGTH ENTERPRISES INC
                                            iTN: RAYMON D ALSKO
   RAYMOND ALSKO
                                            HONE:973-832-9260                            TRADE DEBT                                                             $361,909
   1700 RTE 23 N STE 130 FIRST FL
                                            MAIL:
   WAYNE, NJ 07470
                                            AYMON D.ALSKO@ WAVELENGTHPHARMA.COM


 ~ CONTRACTPHARMACALCORP                    ONTRACTPHARMACALCORP
    NTHONYGARGANO                           TTN:ANTHONYGARGANO
                                                                                         TRADE DEBT                                                             5327,422
   135 ADAMS AVE                            HONE:631-231-4610
   HAUPPAUGE, NY 11788-3633                 MAIL: ANTHONY.GARGANO@CPC.COM



 $ PL DEVELOPMENT LLC                       L DEVELOPMENT LLC
    SINGLEfERRY                             TTN:1 SINGLEfERRY
                                                                                         TRADE DEBT                                                             $271,195
   609-2 CANTIAGUE ROCK RD                  HONE: 516-986-1700
     ESTBURY, NY 11590                      MAIL: JSINGLETERRY@PLDEVELOPMENTS.COM




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Debtor       Purdue Pharma Inc.                                                                   Case number (;rk„ow~)
              Name

     Name of creditor and complete             Name,telephone number, and email      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact          (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                    debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                    professional           unliquidated,   secured, fill in total claim amount and
                                                                                    services, and          or disputed     deduction for value of collateral or setoff to
                                                                                    government                             calculate unsecured claim.
                                                                                    contracts)

                                                                                                                           Total        Deduction         Unsecured
                                                                                                                           claim, if    for value of      claim
                                                                                                                           partially    collateral or
                                                                                                                           secured      setoff


29 HEALTHCORE INC                             EALTHCORE INC
   KELSEY GANGEMI                             TTN: KELSEY GANGEMI
                                                                                         TRADE DEBT                                                              $269,621
   123JUSTISON ST STE 200                     HONE: 302-230-2000
     ILMINGTON, DE 19801                      MAIL: KGANGEMI@HEALTHCORE.COM


30    OGNIZANTTECH SOLUTIONS US CORP          OGNIZANTTECH SOLUT10N5 US CORP
      URANJAN KAYAL                           TTN:SURANIAN KAYAL
                                                                                         TRADE DEBT                                                              $262,216
      4721 NETWORK PL                         HONE:201-744-3444
     CHICAGO, IL 60673                        MAIL:SURANJAN.KAYAL@COGNIZANT.COM


31     q~RUSLLC                                ALRUSLLC
     PAULA BUCHMA                             TTN: PAULA BUCHMA
                                                                                         TRADE DEBT                                                              $236,471
     1S E 17TH ST 4TH FL                      HONE:646.731.1701
     NEW YORK, NY 10003                       MAIL: PAULA@WALRUSNYC.COM


32 DENVER HEALTH & HOSPRALAUTH                ENVER HEALTH &HOSPITALAUTH
    COTTHOYE,GENERALCOUNSEL                   TTN:SCOTTHOYE,GENERAl000N5EL
                                                                                         TRADEOEBT                                                               5235,742
   777 BANNOCK STREET                         HONE: 303.436-6000
   DENVER, CO 80204                           AX:303-602-4934


33    EMERSON GROUP INC                       EMERSON GROUP INC
     MATT POLL                                TTN: MATT POLL
                                                                                         TRADE DEBT                                                             $234,029
     07 EAST LANCASTER AVE                    HONE:610-971-9600
      AYNE, PA 19087                          MAIL: MATT.POLI@EMERSONGROUP.COM


~ INTEGRATED BEHAVIORALHEALTHINC              NTEGRATED BEHAVIORAL HEALTHINC
  MARY SWEET                                  TTN: MARY SWEET
                                                                                         TRADE DEBT                                                             $228,793
   070 BRISTOL ST STE 350                     HONE:617-7653144
  COSTA MESA, CA 92626                        MAIL: MSWEET@INFLEXXION.COM


35 CHALLENGE PRINTING COMPANY                 HALLENGE PRINTING COMPANY
    .YOUNG                                    TTN:S.YOUNG
                                                                                        TRADE DEBT                                                              $210,541
   PO BOX 27775                               HONE:973-471-4700
   NEWARK, N107101-7775                       MAIL:SYOUNG@CHALLENGEPRINTINGCO.COM


36    pECGX LLC                               PECGX LLC
      ENERALCOUNSEL                           TTN:GENERAL000NSEL
                                                                                        TRADE DEBT                                                              $189,371
     385 MARSHALLAVE                          HONE: 314-6542000
      AINT LOUIS, MO 63119.1831               AX:800-323-5039


3~ GCI HEALTH                                 CI HEALTH
   MARGARETSHUBNY                             TTN:MARGAREfSHUBNY
                                                                                        TRADE DEBT                                                              $161,049
   PO BOX 101890                              HONE:312.596.2648
    TLANTA, GA 30392                          MAIL: MARGARET.SHUBNY@GCIHEALTH.COM


3$    RIALCARD ANC                            RIALCARD INC
     LINDSEY DOBBINS                          TTN: LINDSEY DOBBINS
                                                                                        TRADE DEBT                                                              $151,286
     2250 PERIMETER PARK DR STE 300           HONE:919-415-5494
     MORRISVILLE, NC 27560                    MAIL: LINDSEY.DOBBINS@TRIALCARD.COM


                                              URPLE STRATEGIES LLC
39 PURPLE STRATEGIES LLC
                                              17N:SARAH SIMMONS
    ARAH SIMMONS
                                              HONE:703-548-7877                         TRADE DEBT                                                              5150,000
    15 SLATERS IN
                                              MA~~'
    LEXANDRIA, VA 22314
                                              ARAH.SIM MONS@PU RPLESTRATEGIES.COM



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Debtor       Purdue Pharma Inc.                                                                      Case number (if known)
              Name

     Name of creditor and complete             Name,telephone number, and email         Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code       address of creditor contact             (for example, trade    claim is        If the claim is fully unsecured, fill in only
                                                                                       debts, bank loans,     contingent,     unsecured claim amount. If claim is partially
                                                                                        professional          unliquidated,   secured, fill in total claim amount and
                                                                                       services, and          or disputed     deduction for value of collateral or setoff to
                                                                                       government                             calculate unsecured claim.
                                                                                       contracts)
                                                                                                                              Total        Deduction         Unsecured
                                                                                                                              claim, if    for value of      claim
                                                                                                                              partially    collateral or
                                                                                                                              secured      setoff

                                              PC WORKFORCE SOLUTIONS LLC
 ~    PC WORKFORCE SOLUTIONS LLC
                                              ~N:CHERISH CHONG
     CHERISH CHONG
                                              HONE: 305.490.6535                            TRADE DEBT                                                              $148,537
     PO BOX 534305
                                              MAIL: CCHONG@WORKFORCELOGIQ.COM
      TLANTA, GA 30353


41 DEZENHALLRESOURCES                        DEZENHALLRESOURCES
     MAYA SHACKLEY                            TfN: MAYA SHACKLEY
                                                                                            TRADE DEBT                                                              $142,835
     1130 CONNECTICUTAVENUE NW                HONE:202-534-3170
     WASHINGTON, DC 20036-3904                MAIL: MSHACKLEY@DEZENHALL.COM,


 2    SHLAND SPECIALTY INGREDIENTS GP         SHLAND SPECIALTY INGREDIENTS GP
     BR KINSEY                                TTN: BR KINSEY
                                                                                            TRADE DEBT                                                              $140,487
      145 BLAZER DR                           HONE: 302-594-5000
       ILMINGTON, DE 19808                    MAIL: BRKINSEY@ASHLAND.COM


43 SCIECURE PHARMA INC                        CIECURE PHARMA INC
     PURL                                     TTN: PURL
                                                                                            TRADE DEBT                                                              $139,364
     it DEER PARK DR STE 120                  HONE: 908-723-1209
     MONMOUTH JUNCTION, NJ 08852              MAIL: NOLAN.WANG@SCIECUREPHARMA.COM


 4 FRONTAGE LABORATORIES INC                  RONTAGE LABORATORIES INC
   KEVIN LI DONGMEI WANG,SVP/G M,CMC          TTN: KEVIN LI DONGMEI WANG,SVP/GM, CMC
    ERVICES                                   ERVICES                                       TRADE DEBT                                                              $122,902
   700 PENNSYLVANIA DR                        HONE:484-362-0395
   EXTON, PA 19341-1129                       MAIL: KLI@FRONTAGELAB.COM

                                             OBBS CREEK HEALTHCARE LLC
 5 COB85 CREEK HEALTHCARE LLC
                                             ~N:JUN HUANGPU
    U N HUANGPU
                                             HONE:610-513-8740                              TRADE DEBT                                                              $116,256
   200 MORGAN AVE
                                             MAIL:
   HAVERTOWN,PA 19083
                                             HUANG PU @COBBSCREEKHEALTHCARE.COM


46
     BIOECLIPSE LLC
                                              IOECLIPSE LLC
     PO BOX 512323                                                                          TRADE DEBT                                                              $113,381
                                              MAIL: MWEBSTER@THEACCESSGP.COM
     PHILADELPHIA, PA 19175



 ~    LATTAIRTECHNIQUESINC                    LATTAIRTECHNIQUESINC
     STEPHEN RADOVANOVICH                     TTN: STEPHEN RADOVANOVICH
                                                                                            TRADE DEBT                                                             $109,135
     20 SP EAR RD                            PHONE: 201-825-6337
     RAMSEY, N1 07446-1221                    MAIL: STEPHEN.RADOVANOVICH@GLATT.COM


 $ PACKAGING COORDINATORS INC                 ACKAGING COORDINATORS INC
    I M HANEY                                 TTN:11M HANEY
                                                                                            TRADE DEBT                                                             $108,815
    545 ASSEMBLY DR                           HONE:815-484-8900
   ROCKFORD, IL 61109                         MAIL:IIM.HANEY@PCISERVICES.COM


 9     LTERGON ITALIA SRL
       I NCENZO MANNA                         LTERGON ITALIA SRL
      ONA INDUSTRIALE A51                     TTN: VINCENZO MANNA                           TRADE DEBT                                                             $107,512
     MORRA DE SANCTIS, AV 83040               MAIL: V.MANNA@ALTERGON.IT
     ITALY


5O    HATCHER COMPANY                         HATCHER COMPANY
     PATRICK SCHWARTZ                         TTN: PATRICK SCHWARTZ
                                                                                            TRADE DEBT                                                             $103,393
     1905 FORTUNE RD                          HONE:801-972-4606
      ALT LAKE CITY, UT 84127                 MAIL: PATIRCK.SCHWARTZ@TCHEM.COM




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   Debtor name        Purdue Pharma Inc.

   United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF NEW YORK

   Case number (if known)
                                                                                                                             ❑ Check if this is an
                                                                                                                               amended filing



  Official Form 202
  Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    72/15


 An individual who is authorized to act on behalf of anon-individual debtor, such as a corporation or partnership, must sign and submit this
 form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
 amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
 and the date. Bankruptcy Rules 7008 and 9011.

  WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
  connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 752, 1341,
  1519, and 3571.



 Declaration and signature
-

          am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

         have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ❑       Schedule A/8: Assets—Real and Personal Property (Official Form 206A/B)
         ❑       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         ❑       Schedule E/F.~ Creditors Who Have Unsecured Claims (Official Form 206E/F)
         ❑       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         ❑       Schedule H: Codebtors (Official Form 206H)
         ❑       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         ❑       Amended Schedule
         ~       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
         ~       Other document that requires a declaration       Corporate Ownership Statement

         declare under penalty of perjury that the foregoing is true and correct.

        Executed on      September 15, 2019              X           ~~          1 ~
                                                              Signature of individual signing on behalf of debtor

                                                              Jon Lowne
                                                              Printed name

                                                              Authorized Person
                                                              Position or relationship to debtor




  Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
